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WESTERN DISTRICT oF TENNESSEE ' @/;,//§%’/ 50
EaSteI’n Division "/Hy /‘
JUDGMENT IN A CIVIL CASE
INSOUTH BANK,
V.
]OSEPH TELESE, BRUCE OLSTER and CASE NUMBERZ 1203-1290-T/An
MADELINE OLDSTER

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT |S ORDERED AND ADJUDGED that in compliance with the Order entered in
the above styled case on 7/15/05, the plaintiff’s l\/lotion for Judgment against
Defendants pursuant to the settlement agreement is GRANTED. Defendants Bruce
and lVlade|ine Olster are ORDERED to pay plaintiff in the amount of $79,536.55, With
interest of 10% per annum, and defendant Te|ese is ordered to pay plaintiff in the
amount of $105,343.00, With interest of 10% per annum.

APPROVED:

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JA § l)'. ToDD
U TED STATES I)ISTRICT JUI)GE

 

THOMAS M. GOULD

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:03-CV-01290 Was distributed by faX, mail, or direct printing on
.1 uly 20, 2005 to the parties listed.

 

 

Charles R. Bone

LAW OFFICES OF .1. HOUSTON GORDON
511 Union St.

Ste. 1 6 1 0

Nashville, TN 37219

Robert A. McLean

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/1emphis7 TN 38103

.1. Houston Gordon

LAW OFFICES OF .1. HOUSTON GORDON
114 W. Liberty Ave.

Ste. 300

Covington, TN 38019--084

Honorable .1 ames Todd
US DISTRICT COURT

